Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23   Page 1 of 12 PageID 9605




                            EXHIBIT 53




                                                                  Appx. 01024
       Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23                                                                   Page 2 of 12 PageID 9606
                                                                                                                                          Claim #151 Date Filed: 4/8/2020

 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                               04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  NexVest, LLC
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               NexVest, LLC                                                                    NexVest, LLC
   creditor be sent?                                                                                             2515 McKinney Ave., Suite 1100
                                 Jason Rudd
                                 Name                                                                             Name
                                 3131  McKinney Ave.                                                             United States
    Federal Rule of              Suite 100                                                                       Dallas, Texas 75201
    Bankruptcy Procedure         Number    Street                                                                Number          Street
    (FRBP) 2002(g)               Dallas, TX 75204, United States
                                 City                                State                 ZIP Code              City                                State                  ZIP Code

                                 Contact phone      2147404038                                                   Contact phone

                                 Contact email      jason.rudd@wickphillips.com                                  Contact email


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM     /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                                                                           page 1

                                                                                                                                                             Appx. 01025
      Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23                                                  Page 3 of 12 PageID 9607
Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ see addendum                               . Does this amount include interest or other charges?
                                                                                 ✔ No
                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 Promissory note - see attached addendum


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                                                                page 2

                                                                                                                                      Appx. 01026
       Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23                                                                   Page 4 of 12 PageID 9608
12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                 ✔       I am the creditor.
FRBP 9011(b).
                                          I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/James Dondero
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       James Dondero
                                                             First name                             Middle name                            Last name

                                  Title                      Manager
                                  Company                    NexVest, LLC
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street




                                  Contact phone
                                                             City
                                                                                                                 ¨1¤}HV4$(         State

                                                                                                                                   Email
                                                                                                                                        ^O«
                                                                                                                   1934054200408000000000062
                                                                                                                                                     ZIP Code




 Official Form 410                                                        Proof of Claim
                                                                                                                                                                    page 3

                                                                                                                                                         Appx. 01027
   Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23                                    Page 5 of 12 PageID 9609
                                          KCC ePOC Electronic Claim Filing Summary
                                     For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
              19-34054 - Highland Capital Management, L.P.
       District:
               Northern District of Texas, Dallas Division
       Creditor:                                                        Has Supporting Documentation:
               NexVest, LLC                                                   Yes, supporting documentation successfully uploaded
               Jason Rudd                                               Related Document Statement:
               3131 McKinney Ave.
                                                                        Has Related Claim:
               Suite 100
                                                                               No
               Dallas, TX, 75204                                        Related Claim Filed By:
               United States
               Phone:                                                   Filing Party:
               2147404038                                                      Creditor
               Phone 2:
               Fax:

               Email:
              jason.rudd@wickphillips.com
       Disbursement/Notice Parties:
              NexVest, LLC
               2515 McKinney Ave., Suite 1100
               United States
               Dallas, Texas, 75201
               Phone:
               Phone 2:
               Fax:

               E-mail:
               DISBURSEMENT ADDRESS
       Other Names Used with Debtor:                                    Amends Claim:
                                                                               No
                                                                        Acquired Claim:
                                                                               No
       Basis of Claim:                                                  Last 4 Digits:          Uniform Claim Identifier:
              Promissory note - see attached addendum                          No
       Total Amount of Claim:                                           Includes Interest or Charges:
              see addendum                                                     No
       Has Priority Claim:                                              Priority Under:
             No
       Has Secured Claim:                                               Nature of Secured Amount:
             No                                                         Value of Property:
       Amount of 503(b)(9):                                             Annual Interest Rate:
             No
       Based on Lease:                                                  Arrearage Amount:
             No                                                         Basis for Perfection:
       Subject to Right of Setoff:                                      Amount Unsecured:
              No
       Submitted By:
              James Dondero on 08-Apr-2020 5:07:59 p.m. Eastern Time
       Title:
              Manager
       Company:
               NexVest, LLC




VN: 52E2E6CDDC9D55E317FC199E63A26000
                                                                                                                  Appx. 01028
              Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23                                                         Page 6 of 12 PageID 9610
  Fill in this information to identify the case:

  Debtor 1          Highland   Capital Management, LP
                    __________________________________________________________________

  Debtor 2              ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________  District
                                          Northern District of of __________
                                                               Texas

  Case number           19-34054
                        ___________________________________________




 Official Form 410
 Proof of Claim
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                     NexVest,  LLC
                                     ___________________________________________________________________________________________________________
                                     Name of the current creditor (the person or entity to be paid for this claim)

                                     Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been               ✔   No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices              Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                           different)
   creditor be sent?
                                     Wick Phillips Attn: Jason Rudd
                                     _____________________________________________________                       NexVest, LLC
                                                                                                                 _____________________________________________________
   Federal Rule of                   Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                    3131 McKinney Ave., Suite 100
                                     ______________________________________________________                      2515 McKinney Ave., Suite 1100
                                                                                                                 ______________________________________________________
                                     Number          Street                                                      Number      Street
                                     Dallas                     TX          75204
                                     ______________________________________________________                      Dallas                     TX           75201
                                                                                                                 ______________________________________________________
                                     City                       State             ZIP Code                       City                       State             ZIP Code

                                     Contact phone 214-740-4038
                                                    ________________________                                     Contact phone   ________________________

                                     Contact email   jason.rudd@wickphillips.com
                                                       ________________________                                  Contact email   ________________________



                                     Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                     __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend             ✔   No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                  MM / DD       / YYYY



5. Do you know if anyone             ✔   No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                            Proof of Claim                                                             page 1
                                                                                                                                             Appx. 01029
           Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23                                             Page 7 of 12 PageID 9611
 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔   No
   you use to identify the           Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ ____ ____ ____
   debtor?



7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                             ✔   No
                                                                                 Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Promissory note, see attached addendum
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔   No
   secured?                          Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                               Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                               Motor vehicle
                                               Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed) _______%
                                               Fixed
                                               Variable



10. Is this claim based on a     ✔   No
    lease?
                                     Yes. Amount necessary to cure any default as of the date of the petition.                $____________________


11. Is this claim subject to a   ✔   No
    right of setoff?
                                     Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
                                                                                                                                  Appx. 01030
            Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23                                                      Page 8 of 12 PageID 9612
12. Is all or part of the claim     ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                   Yes. Check one:                                                                                         Amount entitled to priority

   A claim may be partly                      Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                             $____________________
   nonpriority. For example,
   in some categories, the                    Up to $      * of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                         $____________________
   entitled to priority.
                                              Wages, salaries, or commissions (up to $1 ,        *) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                  $____________________
                                              11 U.S.C. § 507(a)(4).
                                              Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                              $____________________

                                              Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                  $____________________

                                              Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                  $____________________

                                          * Amounts are subject to adjustment on 4/01/   and every 3 years after that for cases begun on or after the date of adjustment.




 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ✔       I am the creditor.
 FRBP 9011(b).                     I am the creditor’s attorney or authorized agent.
 If you file this claim            I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
                                   I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________________
                                                          MM / DD    /   YYYY




                                     ________________________________________________________________________
                                       Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   James Dondero
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Manager
                                                         _______________________________________________________________________________________________

                                  Company                NexVest, LLC
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                2515  McKinney Ave., Suite 1100
                                                         _______________________________________________________________________________________________
                                                         Number           Street

                                                         Dallas                                         TX           75201
                                                         _______________________________________________________________________________________________
                                                         City                                                      State         ZIP Code

                                  Contact phone          _____________________________                             Email         ____________________________________




 Official Form 410                                                         Proof of Claim                                                                  page 3
                                                                                                                                              Appx. 01031
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                        IN THE UNITED STATES BANKRUPTC COURT
                          FOR THE NORTHERN DISTRICT OF TE AS
                                    DALLAS DIVISION

  I    :                                                  C        11

  H             C       M           , L.P.                C     N . 19-34054

            D       .


                            ATTACHMENT TO PROOF OF CLAIM

           This a achmen s pplemen s he accompan ing Proof of Claim (Official Form 410) and is

hereb e pressl incorpora ed in o Official Form 410 as if se for h f ll    herein (collec i el , he

 Proof of Claim ).

           Ne Ves , LLC, ( he Claiman ) files his Proof of Claim agains Highland Capi al

Managemen , L.P. ( he Deb or ). Claiman holds a promissor no e da ed Sep ember 21, 2018,

pa able b HCRE Par ners, LLC ( HCRE ) in he original face amo n of $44,719,991.57 ( he

 HCRE No e ) sched led o ma re on Sep ember 21, 2020 (The Ma ri             Da e ). Claiman files

his Proof of Claim in an ab ndance of ca ion o preser e and asser an claim or ca se of ac ion

Claiman has or ma ha e agains Deb or regarding an ac ion, omission or inac ion b Deb or, or

an par      ac ing for or on behalf of Deb or, ha impac s, impairs or dela s Claiman s righ s and

remedies nder he HCRE No e, incl ding, i ho limi a ion, (i) Claiman s righ s o imel collec

and recei e pa men of all amo n s d e nder he HCRE No e, incl ding,              i ho     limi a ion,

principal, in eres , e penses, cos s and fees; (ii) Claiman s righ s o p rs e or collec agains an

lien, sec ri    in eres , pledge or colla eral sec ring an obliga ion nder or rela ed o he HCRE

No e; and (iii) Claiman s righ s o p rs e an claims, ca ses of ac ion, req es s for relief and

remedies in con rac , la or eq i .




                                                 1


                                                                                        Appx. 01032
 Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23                  Page 10 of 12 PageID 9614

         Wi ho    limi ing he forgoing, Claiman e pressl reser es an claim, req es of relief or

ca se of ac ion agains Deb or for or io s in erference of con rac , breach of con rac , and an o her

basis in con rac , la or eq i in an     a rela ed o he HCRE No e. This Proof of Claim incl des,

 i ho    limi a ion, he righ o ob ain a orne s fees and defense cos s, or o her fees, e penses or

obliga ions arising from all legal proceedings or go ernmen al or pri a e in es iga ions/inq iries in

 hich he Claiman ma become in ol ed af er he filing of his Proof of Claim.

                                  RESERVATION OF RIGHTS

         B filing his Proof of Claim, he Claiman         ai es no hing and e pressl reser es all

righ s, claims, pri ileges, benefi s, obliga ions and defenses, he her a con rac , la or eq i .

         The Claiman reser es, i ho limi a ion and o he f lles e en allo ed b la , he righ

 o amend, modif , rene , e end, res a e and s pplemen , for an reason, his Proof of Claim,

incl ding, b     no limi ed o, he righ o amend amo n s claimed, o asser an liq ida ed claim

amo n       pon liq ida ion, and o reflec an addi ional or s pplemen amo n s o ed o he

Claiman .

         Wi ho    prej dice o he claims filed herein, he Claiman also preser es and asser s all

claims en i led o priori    nder sec ions 503 and 507 of he Bankr p c Code, or nder an order

of he Co r .

         The Claiman reser es all of i s righ s, claims and defenses, he her nder he Bankr p c

Code or o her la s, incl ding as o an claims ha ma be asser ed agains he Claiman b                he

Deb or, i s bankr p c es a e, s ccessors and assigns of he Deb or or i s bankr p c es a e, an

 r s ee, plan agen or liq ida ing agen , an credi or, or an o her person or en i , incl ding,

  i ho   limi a ion, an righ s of se off and reco pmen .




                                                  2


                                                                                       Appx. 01033
Case 3:21-cv-00881-X Document 138-53 Filed 07/14/23                        Page 11 of 12 PageID 9615

        B filing his Proof of Claim, he Claiman does no              ai e, and hereb preser es: (a) an

obliga ion o ed o he Claiman ; (b) an in eres s, ni s or sec ri           held b       he Claiman or for i s

benefi ; (c) an righ or righ s of ac ion ha he Claiman has or ma ha e agains he Deb or, i s

bankr p c       es a e or an    o her person or persons, incl ding,             i ho   limi a ion, ins rers,

g aran ors and s re ies, as applicable; (d) an righ o con es he alidi , priori              or e en of an

lien, sec ri     in eres or righ p rpor ed o be eq al, senior or inferior o an righ of he Claiman ;

and (e) an and all righ s and remedies a la         or in eq i      a ailable o he Claiman agains he

Deb or and an of i s respec i e affilia es or s bsidiaries, or an o her person or en i .

        The filing of his Claim shall no cons i          e: (i) a     ai er, release or limi a ion of he

Claiman s righ s agains an person, en i          or proper ; (ii) a ai er, release or limi a ion of an

righ s, remedies, claims or in eres of he Claiman , incl ding            i ho     limi a ion, all righ s and

claims nder sec ions 502 and 365 of he Bankr p c Code, as applicable; (iii) a consen b                   he

Claiman        o he j risdic ion or     en e of his Co r or an         o her co r        i h respec   o he

proceedings, if an , commenced in an case agains or o her ise in ol ing he Claiman                       ih

respec o he s bjec ma er of he claims se for h in his Proof of Claim, an objec ion or o her

proceeding commenced           i h respec    here o or an o her proceeding commenced agains or

o her ise in ol ing he Claiman ; (i ) a        ai er, release or limi a ion of he righ of he Claiman

o rial b j r in an proceeding as o an and all ma ers so riable herein,                     he her or no he

same be designa ed legal or pri a e righ s or in an case, con ro ers or proceeding rela ed here o,

no   i hs anding he designa ion or no of s ch ma ers as core proceedings p rs an o 28 U.S.C.

  157(b)(2), and      he her s ch j r    rial righ is p rs an o s a     e or he U.S. Cons i       ion; ( ) a

consen b       he Claiman o a j r       rial in his Co r or an o her co r in an proceeding as o an

and all ma ers so riable herein or in an case, con ro ers or proceeding rela ed here o, p rs an



                                                     3


                                                                                               Appx. 01034
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o 28 U.S.C.   157(e) or o her ise; ( i) a   ai er, release or limi a ion of he Claiman s righ o

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o 28 U.S.C.    157(c); ( ) an elec ion of remedies; or ( i) a   ai er or release of he Claiman s

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                                 SUPPORTING DOCUMENTS

       Doc men s referenced in s ppor of he Proof of Claim          ill be made a ailable ei her

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co nsel as se for h in Form 410.

Respec f ll s bmi ed,

/ / Ja   M. R dd
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